Case 4:05-cr-00173-MAC-KPJ             Document 724        Filed 03/17/08      Page 1 of 1 PageID #:
                                              2199


                              United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 V.                                                 §           CASE NO. 4:05CR173
                                                    §
 BYRON EUGENE JAGOURS                               §


             MEMORANDUM ADOPTING REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE

           Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for revocation of Defendant’s supervised release to the United States Magistrate

 Judge for proper consideration. The Court has received the report of the United States Magistrate

 Judge pursuant to its order. As Defendant has waived his right to object, the Court is of the opinion

 that the findings and conclusions of the Magistrate Judge are correct. Therefore, the Court hereby

 adopts the findings and conclusions of the Magistrate Judge as the findings and conclusions of the

 Court.. It is, therefore,

           ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion of the Court.

           It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

           It is finally ORDERED that Defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a period of twelve (12) months and one (1) day, with no supervised release to

 follow.

            SIGNED this 17th day of March, 2008.




                                                              ____________________________________
                                                              MICHAEL H. SCHNEIDER
                                                              UNITED STATES DISTRICT JUDGE
